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06                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
07                                     AT SEATTLE

08 UNITED STATES OF AMERICA,              )
                                          )            CASE NO. CR11-131-MJP
09         Plaintiff,                     )
                                          )
10         v.                             )
                                          )            DETENTION ORDER
11   TU ANH LE,                           )
                                          )
12         Defendant.                     )
     ____________________________________ )
13

14 Offense charged:        Conspiracy to Distribute Controlled Substances; Distribution of

15 MDMA; Forfeiture Allegations

16 Date of Detention Hearing:     Septemer 7, 2011.

17          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

18 based upon the factual findings and statement of reasons for detention hereafter set forth, finds

19 that no condition or combination of conditions which defendant can meet will reasonably

20 assure the appearance of defendant as required and the safety of other persons and the

21 community.

22 / / /



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01         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

02          1.     Defendant has been charged with a drug offense, the maximum penalty of which

03 is in excess of ten years. There is therefore a rebuttable presumption against defendant as to

04 both dangerousness and flight risk, under 18 U.S.C. § 3142(e).

05          2.     Defendant’s criminal history includes several failures to comply with sex

06 offender registration requirements, and failure to comply with sex offender treatment. The

07 AUSA proffers that defendant may have given false information regarding his phone number

08 and address in his current sex offender registration. Defendant was born in Vietnam and has

09 refugee immigrant status. His father returned to Vietnam, where he current resides, after his

10 parents divorced about six years ago.         There is conflicting information about whether

11 defendant has a child. Defendant has a prior drug felony conviction of approximately two

12 years ago, and the AUSA proffers that defendant could be charged as a career offender with a

13 possibility of a twenty year mandatory minimum sentence. Defendant was on Department of

14 Corrections supervision at the time of the alleged instant offense.

15          3.     Taken as a whole, the record does not effectively rebut the presumption that no

16 condition or combination of conditions will reasonably assure the appearance of the defendant

17 as required and the safety of the community.

18 It is therefore ORDERED:

19      1. Defendant shall be detained pending trial and committed to the custody of the Attorney

20          General for confinement in a correction facility separate, to the extent practicable, from

21          persons awaiting or serving sentences or being held in custody pending appeal;

22      2. Defendant shall be afforded reasonable opportunity for private consultation with



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01        counsel;

02     3. On order of the United States or on request of an attorney for the Government, the

03        person in charge of the corrections facility in which defendant is confined shall deliver

04        the defendant to a United States Marshal for the pupose of an appearance in connection

05        with a court proceeding; and

06     4. The Clerk shall direct copies of this Order to counsel for the United States, to counsel

07        for the defendant, to the United States Marshal, and to the United State Pretrial Services

08        Officer.

09        DATED this 7th day of September, 2011.

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11                                                      A
                                                        Mary Alice Theiler
12                                                      United States Magistrate Judge

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